
*448OPINION.
Trammell :
We think from all the evidence that the respondent properly determined the tax liability of the petitioner on a fiscal year basis. The returns were filed upon a calendar year basis. This being true, the first issue presented must be decided adversely to the petitioner on the authority of Paso Robles Mercantile Co., 12 B. T. A. 750, in so far as the fiscal year 1920 is concerned.
In so far as the fiscal year 1919 is concerned there was filed on February 24, 1920, a return which together with the return filed on June 5, 1919, gave the respondent information as to the entire period covered by the 1919 fiscal year.
The respondent had until February 24,1925, to mail the deficiency notice but it was not mailed until August, 1925. For the fiscal year 1919, therefore, the collection of the deficiency is barred.
The question of the method used by the respondent in crediting-amounts paid by the petitioner upon a calendar year basis upon the tax liability shown due upon a fiscal year basis is also controlled by *449our decision in the case of Paso Robles Mercantile Co., supra, and must be decided in favor of the petitioner.
Reviewed by the Board.

Judgment %oill be entered under Rule 50.

